   Case 2:18-cr-00014-LGW-BWC Document 574 Filed 01/24/19 Page 1 of 4




                        STIPI'I,ATIONS OF THE PABTIES

       The United States ofAmerica aud Defendant Andrew Jackeon hereby stipulate

and agree that the following fac,ts are   bue. The jury may accept theee facts   as   proven

beyoud   a   reasoDable doubt without      the necessity of any additionel s\ddsnce s1
testimony:

       1.     The cellular telephone number 541-609-1723 was assigned to a Verizon

Wireless account in the name of Sanjay Smith of 176 Yorktown Drive, Brunewick,

Georgia with an activatioD date of March 2016 aad a termination date of November

2017. The activation record and subecriber record from Verizon Wireleee for
telephone number 541-6O9-t723, marked as Government Exhibit 4-12 and,4-13, are

true and authentic and adniesible and Federal Rule of Er"irlence 902(11) and 902(13).

      2.      The call detail records from AT&T for cellular telephone number 912-

242-2432, marked as Governr''ent          Exhibit 4-6a, are true and authentic and
arlmissible under Federal Rule of Evidence 902(11) and 902(13).

      3.      From at least April 2016 irntil September 22,2017, Anrlrew Jackson

operated a Facebook account under the name "Flamey TopranLin Spendaz."
  Case 2:18-cr-00014-LGW-BWC Document 574 Filed 01/24/19 Page 2 of 4




      4.     The cocaine eeized from the vehicle driven by Johu Overcash on August

29, 2OI7, marked as Government Exhibit 3-1, was             in   fiact cocaiae,   a Schedule II

controlled substance, with a net weight of 416.7 cFans. (ATF Dx. 16)

      6.     The marijua-na eeiz€d from the garage at 1199 W'est Shore ilrive on

August 29,2017, marked ae Governmsnt Exhibit 3-2, was in fact marijua-na, a

Schedule I controlled substatrce, with a net weisht of 10,408.624 graas. (ATF Ex. 47)

      6.     The cocaine eeiz€d from the cabinet in the laurdry room at 1199 Wegt

Shore drive on Auguet 29, 2017, marked as Government                Erfiibit   3-3, was   in fact

cocaiae, a Schedule   II controlled substance, with a net weight      of 4,009.3 gams. (ATF

Ex. 19)

      7.    The cocaine Beized from a eafe i:r the laundry room located at 1199 West

Shore drive on Auguat 29, 2017, marked as Government Exhibit 3-4, was                     in   faet

cocaine, a Schedule   II   controlled substance, with a net weight of 723.6 grrns. (ATF

Ex. 14)

      8.    Tte marijuana        eeizeil from   a gym bag and two plastic bags in the
Iaundry room at 1199 West Shore drive on Auguet 29' 2Ol7 , markeil as Government

Exhibit 3-6, was in fact marijuana, a Schedule        I   coutrolled substance, with a net

weight of 877.7 grams. (ATF Ex. 44)

      9.    The cocaine seized from a cardboard box in the laundry roon at 1199

lV'est Shore drive on August 29,2017, marked as Government Exhibit 3-6, waa in fact

6sgqing, a Schedule   II   controlled subgtance, with a net weight of 216.2 grams. (ATF

Ex.21)
  Case 2:18-cr-00014-LGW-BWC Document 574 Filed 01/24/19 Page 3 of 4




       10.    The marijuaoa eeized &om Darriue Merrells reeidence at 119 Biehop

Street, Brunswick, Georgia, on September 22, 2017 , marked as Government Exhibit

3-7, was   in fuct marijuana, a Schedule I controlled subetance, with a net weight of

167.1 grams. (ATF Ex. 66)

       11.    Andrew Jackson, Darrius Merrell, and Sanjay Smith previously worked

together at Sea Jslnnd Company in St. Simons Island, Georgia. Andrew Jacksoo wag

employed there from February 20,2012 through February 22,2014; Darrius Merrell

was enployed there from February 27,2012 through November 6,2O151' and Sanjay

Smith was employed there from February 3, 2074 through the present. The

employment records for these three individuals, marked ae Government Exhibit         42
(Jackson), 4-3 (Merrell), and 4-4 (Snith), are certified domestic recorrls of a regularly

conducted activity a-nd are ad'"issible under Federal Rule of Eviilence 902(11).

      12.     Prior to r.esiding in the Orlando area of Florida, Andrew Jackson
previowly resided in Glyan County. He hae a Georgia Driver'e Licerse that lists an

address located   in Glynn County. A      copy of Andrew Jackson-s Georgia driver's

license, marked ae Government Exhibit 4-1, is true and authentic and admissible

under Federal Rule of Evidence 902(4).



                             Signatures on follnwing page
Case 2:18-cr-00014-LGW-BWC Document 574 Filed 01/24/19 Page 4 of 4




                                    Respectfirlly submitted,
